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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


BAY EQUITY LLC,

                    Plaintiff,

               v.
                                                Civil Action No.: 1:20-cv-10693-IT
TOTAL MORTGAGE SERVICES,
LLC, STEVEN SIRMAIAN, and
DENISE PEACH,

                    Defendants.


                           PLAINTIFF’S MOTION FOR REMAND

       Plaintiff Bay Equity LLC (“Bay Equity”) respectfully moves this Court to remand this

action to Middlesex Superior Court, Commonwealth of Massachusetts. As grounds for this

Motion, Bay Equity relies upon its Memorandum in Support of Plaintiff’s Motion for Remand,

filed contemporaneously herewith.

       WHEREFORE, Plaintiff Bay Equity LLC’s Motion for Remand should be granted.
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                                                 Respectfully submitted,

                                                 BAY EQUITY LLC,

                                                 By its attorneys,

                                                 /s/ Stephen D. Riden
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 Dated: April 24, 2020

                                CERTIFICATE OF SERVICE

        I hereby certify that this document has been filed through the CM/ECF system on April
24, 2020, and will be served electronically to the registered participants as identified on the
Notice of Electronic Filing through the Court’s transmission facilities, and that non-registered
participants have been served this day by mail.

                                                 /s/ Stephen D. Riden


                                L.R. 7.1(a)(2) CERTIFICATE

       I certify pursuant to Local Rule 7.1(a)(2) that, on April 21, 2020, at 11:00 a.m. ET,
during a videoconference, counsel for the parties conferred and attempted in good faith to
resolve or narrow the issues presented by this Motion. Defendants’ counsel has indicated that
Defendants plan to oppose this Motion.

                                                 /s/ Stephen D. Riden




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